Case 1:18-cv-00950-LO-JFA Document 615 Filed 11/30/19 Page 1 of 6 PageID# 25555




                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA




  SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                    Case No. 1:18-cv-00950-LO-JFA
                  v.

  COX COMMUNICATIONS, INC., et al.,

                         Defendants.

        DEFENDANTS’ UPDATED WITNESS LIST/RULE 26(a)(3) DISCLOSURES

        Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure and in response to

 Plaintiffs’ November 29, 2019 Updated Witness List (ECF No. 614), Defendants Cox

 Communications, Inc. and CoxCom, LLC (collectively “Defendants” or “Cox”) hereby submit

 their updated witness list.

        Defendants submit this witness list without waiving any of their rights, including the right

 to amend or supplement this list. Defendants also reserve the right to call any rebuttal witnesses.

        A. Defendants expect to present testimony, either live (“L”) or by deposition (“D”), or

            both, of the following witnesses (deposition designations will be filed before trial):

                  1.    Brent Beck (L) (by cross-examination during Plaintiffs’ case as part of

                        Cox’s case in chief)

                  2.    Christian Tregillis (L)

                  3.    Christopher Bakewell (L)

                  4.    Kevin Almeroth (L)

                  5.    Linda Trickey (L) (by cross-examination during Plaintiffs’ case as part of

                        Cox’s case in chief)


                                                  -1-
Case 1:18-cv-00950-LO-JFA Document 615 Filed 11/30/19 Page 2 of 6 PageID# 25556




                6.    Lynne Weber (L)

                7.    Matt Carothers (L) (by cross-examination during Plaintiffs’ case as part of

                      Cox’s case in chief)

                8.    Nick Feamster (L)

                9.    Sandy Mencher (L)

               10.    Christopher Monson (L or D)

               11.    Sam Bahun (L or D)

               12.    Sidd Negretti (L)

               13.    Slawomir Paszkowski (L or D)

               14.    Steven Marks (L) (by cross-examination during Plaintiffs’ case as part of
                      Cox’s case in chief)

               15.    Vance Ikezoye (D)

               16.    Victoria Sheckler (L)

               17.    Any witness listed on Plaintiffs’ Witness List/Rule 26(a)(3) Disclosures

                      and/or offered at trial.

       B. If the need arises, Defendants may present the testimony, either live (“L”) or by

          deposition (“D”), or both, of the following witnesses (deposition designations will be

          filed before trial):

               12.    Barbara Frederiksen-Cross (L or D)

               13.    Brian Stifel (L or D)

               14.    Clint Summers (L or D)

               15.    George McCabe (L or D)

               16.    Jason Zabek (L or D)

               17.    Joseph Sikes (L or D)



                                                 -2-
Case 1:18-cv-00950-LO-JFA Document 615 Filed 11/30/19 Page 3 of 6 PageID# 25557




             18.   Paul Jarchow (L or D)

             19.   Randy Cadenhead (L or D)

             20.   Terrance McGarty (L or D)

             21.   William Lehr (L or D)

             22.   Alasdair McMullan (L or D)

             23.   Anish Patel (L or D)

             24.   Christopher Bell (L or D)

             25.   David Benjamin (L or D)

             26.   David Kokakis (L or D)

             27.   Dong Jang (L or D)

             28.   Jason Gallien (L or D)

             29.   Jeremy Blietz (L or D)

             30.   Jon Glass (L or D)

             31.   Matt Flott (L or D)

             32.   Michael Abitbol (L or D)

             33.   Neil Carfora (L or D)

             34.   Paul Kahn (L or D)

             35.   Stephen Poltoak (L or D)

             36.   Tom Foley (L or D)

             37.   Wade Leak (L or D)

             38.   Jill Lesser (L or D)

             39.   Jorge Fuenzalida (D)

             40.   Samuel Rubin (D)




                                            -3-
Case 1:18-cv-00950-LO-JFA Document 615 Filed 11/30/19 Page 4 of 6 PageID# 25558




              41.   Seth Nielson (L or D)

              42.   William Basquin (D)

              43.   Any witness listed on Plaintiffs’ Witness List/Rule 26(a)(3) Disclosures

                    and/or offered at trial.



                                               Respectfully submitted,

 Dated: November 30, 2019

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                                                 -4-
Case 1:18-cv-00950-LO-JFA Document 615 Filed 11/30/19 Page 5 of 6 PageID# 25559




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                                         -5-
Case 1:18-cv-00950-LO-JFA Document 615 Filed 11/30/19 Page 6 of 6 PageID# 25560




                                CERTIFICATE OF SERVICE

         I hereby certify that on November 30, 2019, the foregoing was filed and served
 electronically by the Court’s CM/ECF system upon all registered users.


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                                               -6-
